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                      EXHIBIT A
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    UNITED STATES DISTRICT COURT
    EASTERN DISTRICT OF NEW YORK


    SLOBODAN KARIC, CLARIBEL GARCIA, STEVEN
    JONES, GORAN STANIC, LJUBOMIR ZIVANOVIC,
    DANIEL COLON, and WILLIAM CHATMAN, on
    behalf of themselves and all others similarly situated,

                                            Plaintiffs,

           -against-
                                                                      No. 09 Civ. 5708 (ENV)(CLP)
    THE MAJOR AUTOMOTIVE COMPANIES, INC.,
    MAJOR UNIVERSE, INC., MAJOR UNIVERSE, INC.
    d/b/a MAJOR WORLD FORD LINCOLN MERCURY,
    MAJOR CHEVROLET GEO, MAJOR CHEVROLET,
    INC., MAJOR CHRYSLER JEEP DODGE, INC.,
    MAJOR MOTORS OF LONG ISLAND CITY, INC.
    d/b/a MAJOR KIA, MAJOR MOTORS OF THE FIVE
    TOWNS, INC., MAJOR AUTOMOTIVE REALTY
    CORP., HAROLD BENDELL, BRUCE BENDELL, and
    CHRIS ORSARIS, individually,

                                          Defendants.
                                                                 .

                JOINT STIPULATION OF SETTLEMENT AND RELEASE

             This Joint Stipulation of Settlement and Release (the “Agreement”) is entered into
     by and between Plaintiffs (hereinafter defined) and the class of individuals that they seek
     to represent (hereinafter defined) and Defendants (hereinafter defined).

                                           RECITALS

            WHEREAS, Plaintiffs in the captioned action commenced this putative collective
     and class action under the Fair Labor Standards Act and New York Labor Law on
     December 30, 2009 and sought recovery of, among other things, unpaid minimum wages,
     unpaid overtime compensation, commission damages, unlawful deductions,
     spread-of-hours, liquidated damages, and attorneys’ fees and costs;

             WHEREAS, Defendants, as defined herein, collectively and individually, denied
     and continue to deny all of the allegations made by Plaintiffs in the Litigation (as
     hereinafter defined) and have denied and continue to deny that they are liable or owe
     damages to anyone with respect to the alleged facts or causes of action asserted in the
     Litigation. Nonetheless, without admitting or conceding any liability or damages
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     whatsoever, Defendants have agreed to settle the Litigation on the terms and conditions
     set forth in this Agreement, to avoid the burden, expense, and uncertainty of continuing
     the Litigation;

            WHEREAS, Defendants have agreed to pay the Settlement Payment ( hereinafter
     defined) to settle the claims alleged in the Complaint;

             WHEREAS, Class Counsel (as hereinafter defined) has conducted extensive
     investigation including, but not limited to, interviewing and obtaining declarations from
     Plaintiffs, defending and taking numerous depositions, reviewing hundreds of thousands
     of documents produced by Defendants, participating in party and non-party discovery,
     and analyzing time, payroll, deal folders, commission recap sheets, tax documents and
     other financial records;

           WHEREAS, the Parties participated in two mediation sessions of this matter on
     August 5, 2014 and November 24, 2014 conducted by Martin F. Scheinman, Esq.;

            WHEREAS, Class Counsel has analyzed and evaluated the merits of the claims
     made against Defendants in the Litigation, and the impact of this Agreement on Plaintiffs
     and the Class ( hereinafter defined); and

             WHEREAS, based upon their analysis and their evaluation of a number of factors,
     and recognizing the substantial risks of continued litigation with respect to certain claims,
     including the possibility that the Litigation, if not settled now, might result in a recovery
     that is less favorable to the Class, and that would not occur for several years, Class
     Counsel is satisfied that the terms and conditions of this Agreement are fair, reasonable,
     and adequate and that this Agreement is in the best interests of the Class.

             NOW, THEREFORE, in consideration of the mutual covenants and promises set
     forth in this Agreement, as well as the good and valuable consideration provided for
     herein, the Parties hereto agree to a full and complete settlement of the Litigation on the
     following terms and conditions:

    1.     DEFINITIONS

           The defined terms set forth herein shall have the meanings ascribed to them below.

    1.1    Auditor. “Auditor” shall mean the entity and/or individual selected by Class
           Counsel, who verified the number of cars sold by Plaintiffs and each Class
           Member.

    1.2    Agreement. “Agreement” shall mean this Joint Stipulation of Settlement and
           Release Agreement.

    1.3    Claim Bar Date. “Claim Bar Date” shall mean the last date for a Class Member to
           perform one of the following acts as further defined in this Agreement: (i) file a
           Claim Form; (ii) opt-out of the Litigation, or; (iii) file a timely objection to the
           proposed settlement, which shall be 60 calendar days after the Claims


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           Administrator mails the Notice pursuant to Section 2.5(b).

    1.4    Claim Form. “Claim Form” shall mean the form, a copy of which is attached to
           the Notice of Proposed Settlement of Class Action Lawsuit and Fairness Hearing,
           that the Class Members must sign and return post-marked by the Claim Bar Date in
           the form attached hereto as Exhibit 1. The Claim Form must be timely filed with
           the Claims Administrator for a Class Member to be eligible to receive her
           Individual Settlement Allocation, as defined herein.

    1.5    Claims Administrator. “Claims Administrator” shall mean the entity selected to
           provide notice to the Class and administer payment of the settlement to Class
           Members.     Plaintiffs shall select the Claims Administrator. The Claims
           Administrator is Angeion Group..

    1.6    Class; Class Members. The “Class” shall mean the 89 individuals that have
           previously opted-into the litigation and covers only the period of time these
           individuals were employed as Sales Representatives. The names of the proposed
           class members appear on the class list attached hereto as Exhibit B. A member of
           the Class is a “Class Member.”

    1.7    Class Counsel. “Class Counsel” shall mean Fitapelli & Schaffer, LLP. For
           purposes of providing any notices required under this Agreement, Class Counsel
           shall refer to Joseph A. Fitapelli, Fitapelli & Schaffer, LLP, 475 Park Avenue
           South, 12th Floor, New York, New York 10002.

    1.8    Class Claimant. “Class Claimant” shall mean a Class Member who files a Claim
           Form and Release, post-marked on or before the Claim Bar Date, electing to
           participate in the settlement of this Litigation.

    1.9    Court. “Court” shall mean the United States District Court for the Eastern District
           of New York, the Honorable Eric Nicholas Vitaliano, U.S.D.J. presiding.

    1.10   Covered Period. “Covered Period” shall mean the period from December 30,
           2003 through November 24, 2014.

    1.11   Defendants. “Defendants” shall mean The Major Automotive Companies, Inc.,
           Major Universe, Inc., Major Universe, Inc. D/B/A Major World Ford Lincoln
           Mercury, Major Chevrolet Geo, Major Chevrolet, Inc., Major Chrysler Jeep Dodge,
           Inc., Major Motors Of Long Island City, Inc. D/B/A Major Kia, Major Motors Of
           The Five Towns, Inc., Major Automotive Realty Corp., Harold Bendell, Bruce
           Bendell, and Chris Orsaris.

    1.12   Defendants’ Counsel. “Defendants’ Counsel” shall mean Squitieri & Fearon, LLP
           and Harfenist Kraut & Perlstein. For purposes of providing any notices required
           under this Agreement, Defendants’ Counsel shall refer to Steven Harfenist..

    1.13   Effective; Effective Date. “Effective” shall mean the occurrence of all of the
           following, and “Effective Date” shall be the date that all of the following have


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           occurred:

           (A)    the Court has entered Judgment and ruled on the motions for awards of
                  service payments to Plaintiffs pursuant to Section 3.3 and for attorneys’
                  fees and reasonable costs pursuant to Section 3.2; and

           (B)    the Judgment and the rulings on such motions have become Final. “Final”
                  means the later of:

                  (1)     30 days after the Court enters Judgment if no reconsideration or
                          rehearing is sought;

                  (2)     If rehearing or reconsideration is sought, after any and all avenues of
                          rehearing or reconsideration have been exhausted and no further
                          rehearing or reconsideration is permitted, and the time for seeking
                          such review has expired, and the Judgment and rulings on service
                          awards and attorneys’ fees and reasonable costs have not been
                          modified, amended or reversed in any way;

    1.13   Fairness Hearing. “Fairness Hearing” shall mean the hearing on the Motion for
           Judgment and Final Approval.

    1.14   Fee Award. “Fee Award” shall mean the court-approved attorneys’ fees and costs
           as described in Section 3.2.

    1.15   Litigation. “Litigation” shall mean Karic v. The Major Automotive Companies,
           Inc. et. al. No. 09 Civ. 5708 (ENV)(CLP), pending in the United States District
           Court for the Eastern District of New York.

    1.16   Major Automotive. “Major Automotive” shall refer to new and used car dealerships
           operated by Defendants in which Class Members were employed.

    1.17   Net Settlement Fund. “Net Settlement Fund” shall mean the remainder of the
           Settlement Payment after payment of the Fee Award as described in Section 3.2
           (including the auditor’s expense), court-approved service payments to Plaintiffs as
           described in Section 3.3, payroll taxes, , the claims administrator fees and any costs
           and/or expenses arising out of or related to the Litigation.

    1.18   Order Granting Final Approval or Final Order and Judgment. “Order Granting
           Final Approval” or “Final Order and Judgment” shall mean the final Order entered
           by the Court after the Fairness Hearing.

    1.19   Order Granting Preliminary Approval. “Order Granting Preliminary Approval”
           shall mean the Order entered by the Court preliminarily approving, inter alia, the
           terms and conditions of this Agreement, the manner and timing of providing notice
           to the Class, and the time period for opt-outs and objections.



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    1.20   Parties. “Parties” shall mean Plaintiffs, the Class, and Defendants.

    1.21   Plaintiffs. “Plaintiffs” shall refer to the Named Plaintiffs in this Litigation,
           Slobodan Karic, Claribel Garcia, Steven Jones, Goran Stanic, Ljubomir Zivanovic,
           Daniel Colon, William Chatman, or any and all representatives, heirs,
           administrators, executors, beneficiaries, agents, and assigns of such individuals, as
           applicable and without limitation.

    1.22   Settlement Fund Account. “Settlement Fund Account” shall mean the FDIC
           insured account created and controlled by the Claims Administrator. To the extent
           that an interest-bearing vehicle that is also FDIC insured is available, the Claims
           Administrator shall use such vehicle.

    1.23   Settlement Fund. A “Settlement Fund” not to exceed Five Million Five Hundred
           Thousand Dollars ($5,500,000) shall be the maximum aggregate to be paid by the
           Defendants, which shall include only payments to Class Members who file a timely
           claim as provided for in this Agreement, the Fee Award, the Service Payments, the
           claims administrator fees, , payroll taxes, costs and disbursements, and any other
           damages, costs or expenses arising out of or related to the Litigation but excludes
           Defendants’ offer of judgment for Fair Labor Standards Act claims.


    1.24   FLSA Settlement Payment. “FLSA Settlement Payment” shall mean the Rule 68
           Offers of Judgment made to each Plaintiff and Class Member by Defendants on
           February 5, 2014, in the total amount of $423,569.92.


    2.     APPROVAL AND CLASS NOTICE

    2.1    Retention of Claims Administrator.           The Claims Administrator shall be
           responsible for the claims administration process and distributions to Class
           Members as provided herein.            Class Counsel shall choose the Claims
           Administrator. The Parties agree to cooperate with the Claims Administrator and
           assist it in any way possible in administering the Settlement. Defendants’ Counsel
           and Class Counsel have the right to make inquiries and receive any information
           from the Claims Administrator related to the claims administration process.

    2.2    Preliminary Approval by the Court. Within 10 days of the date on which this
           Agreement is fully executed, Plaintiffs will submit to the Court a Motion for an
           Order Conditionally Certifying the Settlement Class including Plaintiffs and a Rule
           23 Class covering the state law claims and Preliminarily Approving the Class
           Action Settlement (“Preliminary Approval Motion”). In connection with the
           Preliminary Approval Motion, Plaintiffs will submit to the Court, among other
           things, (a) a proposed Notice of Settlement of the Class Action Lawsuit and
           Fairness Hearing, and (b) a proposed Order Granting Preliminary Approval, which
           shall include the findings required by Federal Rule of Civil Procedure 23(a) and
           (b)(3). The Preliminary Approval Motion will seek the setting of dates for


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          opt-outs, objections, and a Fairness Hearing. Defendants will not oppose the
          Preliminary Approval Motion, provided that it complies with the terms of the
          Agreement.

    2.3   Denial of Preliminary Approval. If the Court denies the Motion for Preliminary
          Approval, the Parties jointly agree to meet and confer to discuss whether it is
          feasible to seek reconsideration of the ruling or seek Court approval of a
          renegotiated settlement. Should a motion for reconsideration and/or the Parties’
          attempt to secure Court approval of a renegotiated settlement be denied, the case
          will proceed as if no settlement had been attempted. The Plaintiffs shall retain the
          right to seek class certification. In such a case, the Parties will negotiate and
          submit for Court approval a revised case management schedule.

    2.4   Final Order and Judgment from the Court. Plaintiffs will seek to obtain from the
          Court, as a condition of settlement, a Final Order and Judgment. The Proposed
          Final Order and Judgment will, among other things, (a) certify the Class for
          purposes of settlement, (b) enter Judgment in accordance with this Agreement, (c)
          approve the settlement as fair, adequate, reasonable, and binding on all Class
          Members who have not timely opted out pursuant to Section 2.7, (d) dismiss the
          Litigation with prejudice, (e) enter an order permanently enjoining all Class
          Members who do not opt out from pursuing and/or seeking to reopen claims that
          have been released by this Agreement, and (f) incorporate the terms of this
          Settlement and Release. Defendants will not oppose the application for the Final
          Order and Judgment that complies with the terms of this Agreement.

    2.5   Class Notice.

          (A)    Within 10 calendar days of the date of the Order Granting Preliminary
                 Approval, Defendants will provide the Claims Administrator and Class
                 Counsel with a list, in electronic form, of the names, the number of cars sold
                 by Class Members, 1 last known addresses, social security numbers and, to
                 the extent Defendants have them, telephone numbers for the Class
                 Members. This data, and any other data provided by Defendants to the
                 Claims Administrator and/or Class Counsel pursuant to this Agreement,
                 shall be presumed to be accurate, subject to the provisions of paragraph
                 2.5(C) and 3.4(C), and shall be held in strict confidence to be used solely for
                 the purposes of this Settlement and Release and shall not be disclosed to
                 anyone outside of the Claims Administrator and attorneys for the parties in
                 this Litigation. Class Counsel shall provide the Claims Administrator with
                 any updated or different addresses and phone numbers they obtain from
                 Class Members prior to the Claim Bar Date, subject to Section 2.5(D)
                 below.

          (B)    Within 20 calendar days after receiving the information described in
                 Section 2.5(A), the Claims Administrator shall mail, via First Class United




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                States mail, postage prepaid, the Court-Approved Notice of Proposed
                Settlement of Class Action Lawsuit and Fairness Hearing to all Class
                Members and Claim Form (together, “the Notice, attached as Exhibit “A””)
                using each individual’s last known address as recorded in Defendants’
                records updated by Class Counsel.

          (C)   In the event a Notice is returned undeliverable, the Claims Administrator
                shall take all reasonable steps, including a social security number search, to
                obtain the correct addresses of Class Members, and shall attempt one
                re-mailing to each updated address, and if such re-mailing is returned
                undeliverable, and a new address is obtained, a second re-mailing shall be
                attempted. There shall be no further mailings of the Notice unless a new
                address is furnished prior to the Claim Bar Date by a Class Member. The
                Claims Administrator shall also send two reminder postcards to all Class
                Members who have not made a claim, opted-out or objected to the
                settlement. The first reminder postcard shall be sent fifteen (15) days after
                the date that the Claims Administrator mails the initial Notice, pursuant to
                Paragraph 2.5(B). The second reminder postcard shall be sent thirty (30)
                days after the date that the Claims Administrator mails the initial Notice,
                pursuant to Paragraph 2.5(B). All reminder postcards shall read “A class
                action settlement against Major Automotive may affect your rights. call
                [Claims Administrator phone number] for info.” Other than the provisions
                set forth in this section, the Claims Administrator shall not call or email
                Class Members unless the Class Member first contacts the Claims
                Administrator by phone or email in which case the Claims Administrator
                may communicate in kind with the Class Member.                    Under no
                circumstances will the Claims Administrator encourage or discourage a
                Class Member’s participation in the Settlement or the filing of a Claim
                Form and Release.

          (D)   The Parties agree that the proposed Class Notice constitutes the best notice
                practicable under the circumstances, and constitutes due and sufficient
                notice of the pendency of the Litigation, the proposed settlement, and the
                Fairness Hearing to all persons entitled to notice, in full compliance with
                due process under the United States Constitution.

    2.6   Class Member Opt-Out.

          (A)   Any Class Member may request exclusion from the settlement of this
                Litigation by “opting out.” Class Members who choose to do so must mail
                a written, signed statement to the Claims Administrator that he or she is
                opting out of the Litigation (“Opt-Out Statement”). The Opt-Out
                Statement must contain the name, address, and telephone number of the
                Class Member to be valid. It must also contain words that clearly describe
                her intention to opt-out, such as: “I elect to exclude myself from the
                settlement in the Major World Litigation” in order to be valid. To be
                effective, such Opt-Out Statements and enclosures must also be sent via


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                First Class United States Mail and postmarked by the Claim Bar Date,
                which will be specified on the Notice. The Claim Bar Date will be 60
                calendar days after the Claims Administrator mails the Notice.

          (B)   The Claims Administrator shall stamp the postmark date on the original of
                each Opt-Out Statement that it receives and shall serve copies of each
                Statement on Class Counsel and Defendants’ Counsel not later than 3
                calendar days after receipt thereof. The Claims Administrator also shall,
                within 3 calendar days of the end of the Opt-Out Period, file with the Clerk
                of Court stamped copies of any Opt-Out Statements. The Claims
                Administrator shall, within 2 business days of the end of the Opt-Out
                Period, send a final list of all Opt-Out Statements to Class Counsel and
                Defendants’ Counsel. The Claims Administrator shall retain the stamped
                originals of all Opt-Out Statements and originals of all envelopes
                accompanying Opt-Out Statements in its files until such time as the Claims
                Administrator is relieved of its duties and responsibilities under this
                Agreement.

          (C)   In the event that more than 20% of the Class Members file valid Opt-Out
                Statements by the deadlines set herein, Defendants shall have a period of 10
                business days after receipt of the final list of all Opt-Out Statements from
                the Claims Administrator in which to revoke this Agreement, in which case
                it shall be void, final approval shall not be sought or granted, and the
                provisions of Sections 2.11(a) and (b) shall apply. Defendants must notify
                Class Counsel, the Claims Administrator, and the Court in writing in order
                to revoke this Agreement. Any expenses incurred by the Claims
                Administrator prior to or in connection with this revocation shall be borne
                by the Defendants if they should revoke this Agreement in accordance with
                the conditions of this Paragraph. In the event that Defendants revoke this
                Agreement pursuant to this Section, Defendants shall, within 10 business
                days following such revocation, reimburse Class Counsel for all fees paid
                by Class Counsel to Martin F. Scheinman, Esq.

    2.7   Class Member Claims.

          (A)   A Class Member who submits a timely and properly and fully completed
                Claim Form and Release, post-marked by the Claim Bar Date, will be
                deemed eligible to receive an Individual Settlement Allocation hereunder.
                To be valid, the Claim Form and Release must be signed by the Class
                Member and include all information requested from the Class Member in
                the Claim Form. If a timely Claim Form does not contain all requested
                information, the Claims Administrator shall contact the Class Member and
                give the Class Member an opportunity to cure. Payments will be made by
                check issued by the Claims Administrator. The Claim Form shall request
                the Class Member’s name, mailing address, and signature.

          (B)   Neither Defendants, their attorneys or agents, nor the Claims Administrator


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                 shall encourage or discourage any Class Member from filing the Claim
                 Form and Release in any manner, and will not have any unsolicited contact
                 with any Class Member, tell any Class Member he or she is no longer
                 permitted to work at Major Automotive, threaten, harass, penalize, or in any
                 other manner discriminate or retaliate against any Class Member for filing
                 the Claim Form and Release or choosing not to do so. For the avoidance of
                 doubt, this prohibition includes speaking with any Class Member’s current
                 or prospective employers about a Class Member’s decision to file or not file
                 the Claim Form and Release. If Defendants or their agents, including their
                 attorneys, receive an inquiry from a Class Member about participation in
                 this settlement, they shall not discuss the issue with the Class Member and
                 shall refer the Class Member to the Claims Administrator by providing the
                 Class Member with the Claims Administrator’s telephone number.
                 Neither Defendants, their agents, nor the Claims Administrator shall
                 encourage or discourage Class Members from participating in the
                 settlement in any way. The Parties and the Claims Administrator shall also
                 not disclose to any third party the name of any Class Member who files the
                 Claim Form and Release. To the extent that the Claims Administrator
                 determines that there is an ambiguity in this Agreement that requires
                 interpretation, the Claims Administrator shall present the ambiguity to all
                 counsel for resolution.       The Claims Administrator shall refer all
                 communications from Class Members seeking legal advice to Class
                 Counsel.

    2.8   Objections to Settlement.

          (A)    Class Members who wish to present objections to the proposed settlement
                 at the Fairness Hearing must first do so in writing stating the grounds for the
                 objection specifically. Failure to state the specific grounds for an
                 objection renders the objection invalid. To be valid, an objection, also
                 must be sent to the Claims Administrator via First-Class United States mail,
                 postage prepaid, and be received by the Claims Administrator by the Claim
                 Bar Date, to be specified on the Notice of Proposed Class Action Lawsuit
                 and Fairness Hearing. The written objection must also contain the words, “I
                 object to the settlement in the Major World Litigation.” Failure to include
                 these words renders the objection invalid. The Claim Bar Date shall be 60
                 calendar days after the initial mailing of the Notice by the Claims
                 Administrator. The Claims Administrator shall stamp the date received on
                 the original objection and send copies of each objection to Class Counsel
                 and Defendants’ Counsel not later than 3 calendar days after receipt thereof.
                 The Claims Administrator shall also file the date-stamped originals of any
                 and all objections with the Clerk of Court within 3 calendar days after the
                 end of the Opt-Out Period.

          (B)    An objector must appear at the Fairness Hearing either in person or through
                 counsel hired by the objector. An objector who wishes to appear and speak
                 at the Fairness Hearing must state his or her intention to do so in writing at


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                  the time she submits her written objections. An objector who does not
                  state his or her intention to appear and speak at the Fairness Hearing may
                  not do so. An objector may withdraw his or her objections at any time.
                  No objector may appear and object at the Fairness Hearing unless she has
                  filed a timely objection that complies with the procedures provided in
                  Section 2.8(A) and (B). Any Class Member who has submitted an
                  Opt-Out Form may not submit objections to the settlement or speak at the
                  Fairness Hearing.

           (C)    The Parties may file with the Court written responses to any filed objections
                  no later than 15 calendar days before the Fairness Hearing.

    2.9    Motion for Judgment and Final Approval. No later than 15 calendar days before
           the Fairness Hearing, Plaintiffs will submit a Motion for Judgment and Final
           Approval. The Fairness Hearing shall be held at the Court’s convenience.

    2.10   Entry of Judgment. At the Fairness Hearing, the Parties will request that the
           Court, among other things, (a) approve the settlement as fair, adequate, reasonable,
           and binding on all Class Members who have not timely opted out pursuant to
           Section 2.6, (b) dismiss the Litigation with prejudice, (c) certify the Class for
           purposes of settlement, (d) enter Judgment in accordance with this Agreement, (e)
           enter an order permanently enjoining all Class Members who do not opt out from
           pursuing and/or seeking to reopen claims that have been released by this
           Agreement, and (f) incorporate the terms of this Agreement.

    2.11   Effect of Failure to Grant Final Approval. In the event the Court fails to enter
           Judgment in accordance with this Agreement, or such Judgment does not become
           Final as defined herein, the Parties shall proceed as follows: The Parties jointly
           agree to (a) seek reconsideration of the decision denying entry of Judgment, or (b)
           attempt to renegotiate the settlement and seek Court approval of the renegotiated
           settlement. In the event any reconsideration is denied, or a mutually agreed-upon
           settlement is not approved:

           (A)    The Litigation will proceed as if no settlement had been attempted. In that
                  event, the class certified for purposes of settlement shall be decertified, and
                  Defendants retain the right to contest whether this Litigation should be
                  maintained as a class action or collective action and to contest the merits of
                  the claims being asserted by Plaintiffs in this action.

           (B)    The Court will provide notice to Class Members that the Agreement did not
                  become final and, as a result, no payments will be made to Class Members
                  under the Agreement. Such notice shall be mailed by the Claims
                  Administrator via First Class United States Mail, postage prepaid, to the last
                  address used by the Claims Administrator in mailing the Notice.


    3.     SETTLEMENT TERMS



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    3.1   NYLL Settlement Payment.

          (A)    Defendants, jointly and severally, agree to pay a sum not to exceed
                 $5,500,000 which shall resolve and satisfy: (a) court-approved attorneys’
                 fees of $1,833,333.33 and expenses of up to $39,000.00; (b) all gross
                 amounts to be paid to Class Members; (c) court-approved Service Payments
                 to Plaintiffs; (d) payroll taxes; and (e) any other damages, costs or expenses
                 arising out of or related to the Litigation; and (h) claims administrator fees.
                 The $5,500,000 payment by Defendants does not include Defendants’ Fed.
                 R. Civ. P. Rule 68 offers of judgment for $423,569.92 made to Plaintiffs
                 and Class Members representing settlement of their FLSA claims.

          (B)    Within fifteen (15) calendar days after the date of the Order Granting Final
                 Approval or on November 24, 2015, whichever is later, Defendants shall
                 deposit into the Settlement Fund Account, to be established by the Claims
                 Administrator, a sum equal to all the aggregate of the Class Claimants’
                 allocated shares of the settlement, plus the service payments, plus attorneys’
                 fees as expenses, plus the Claims Administrator’s Fee plus payroll taxes.
                 In the event any payment under this section is not made when due, Class
                 Counsel or their authorized agent shall deliver a notice of such default, via
                 overnight mail, addressed to Steven Harfenist. Any such default may be
                 cured by issuing the appropriate payment then due within five business days
                 of receipt of Class Counsel’s notice of default. All deposits made to the
                 Settlement Fund Account (whether timely or after notice of default is
                 issued) shall be made by wire transfer, pursuant to the following
                 instructions (which may be amended by Class Counsel upon written notice
                 to Defendants), as follows:

                        The Settlement Fund Title:
                        The Settlement Fund Account Number:
                        Settlement Fund Address:
                        Settlement Fund Bank:
                        Settlement Fund Bank Address:
                        Settlement Fund ABA:
                        SWIFT CODE:

                 Within 5 business days of the effective date, the Litigation shall be
                 dismissed against Defendants with prejudice with respect to claims arising
                 from employment at Major World and without prejudice with respect to
                 claims arising from employment or performance of services for any other
                 businesses, establishments or entities, as a part of this settlement.

           (C)   Within ten (10) calendar days after the effective date, the Claims
                 Administrator will distribute the money in the Settlement Fund Account by
                 making the following payments:

                 (1)    Paying Class Counsel Court-approved attorneys’ fees and expenses


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                         as described in Section 3.2(A);

                 (2)     Paying Plaintiffs’ service awards;

                 (3)     Paying Class Claimants their Individual Settlement Allocation as
                         described in Section 3.4.

                 (4)     Paying the claims’ administrator fee and payroll taxes.

    3.2   NYLL Settlement Amounts Payable as Attorneys’ Fees and Costs.

          (A)    Plaintiffs may apply for no more than 33.3% of the Settlement Fund plus up
                 to $39,000.00 in expenses (which includes the auditor’s expense).

          (B)    Defendants will not oppose such application provided it is consistent with
                 this Agreement and specifically Section 3.2(A). Defendants shall have no
                 additional liability for attorneys’ fees and costs except for as provided in
                 Section 3.1(B).

          (C)    The substance of Class Counsel’s application for attorneys’ fees and costs is
                 not part of this Agreement and is to be considered separately from the
                 Court’s consideration of the fairness, reasonableness, adequacy, and good
                 faith of the settlement of the Litigation. The outcome of any proceeding
                 related to Class Counsel’s application for attorneys’ fees and costs shall not
                 terminate this Agreement or otherwise affect the Court’s ruling on the
                 Motion for Judgment and Final Approval.

    3.3   Service Payments to Plaintiffs. Prior to the Fairness Hearing, Plaintiffs Slobodan
          Karic, Claribel Garcia, Steven Jones, Goran Stanic, Ljubomir Zivanovic, Daniel
          Colon, and William Chatman will apply to the Court to receive twenty thousand
          dollars ($20,000) each from the Settlement Fund for services rendered to the Class
          (“Service Payments”). Defendants will not oppose such application. To the
          extent granted by the Court, the service payments and the requirements for
          obtaining such payments are separate and apart from, and in addition to, Plaintiffs’
          recovery from the Net Settlement Payment.                   The substance of the
          above-referenced Plaintiffs’ application for service awards is not part of this
          Agreement and is to be considered separately from the Court’s consideration of the
          fairness, reasonableness, adequacy and good faith of the settlement of the
          Litigation. The outcome of the Court’s ruling on the application for service
          payments shall not terminate this Agreement or otherwise affect the Court’s ruling
          on the Motion for Judgment and Final Approval. Any monies not approved by the
          Court become part of the Net Settlement Fund. If a Plaintiff opts-out of the
          settlement, he or she is not entitled to a service payment.

    3.4   NYLL Distribution to Class Members.

          (A)    A Class Member who submits a timely Claim Form and Release pursuant to
                 Section 2.7(A) will be deemed eligible for a payment hereunder.


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          (B)   Each Class Member’s individual allocation of the Settlement Fund
                (“Individual Settlement Allocation”) is to be allocated for calculation
                purposes regardless of whether the class member opts-out, does nothing, or
                submits a timely Claim Form and Release, though such Individual
                Settlement Allocation is only to be distributed and paid to the Class
                Member in the event that he or she submits a timely Claim Form and
                Release. No part of any unclaimed Individual Settlement Allocation or
                Service Payments shall be allocated or distributed to any other class
                member.

          (C)   The Settlement Allocation to Class Members will be on a pro-rata basis
                based upon the number of cars sold by each Class Member during the
                relevant time period and while employed as a Sales Representative.
                Defendants will provide Class Counsel with the number of cars sold for
                each Class Member during the relevant period. To calculate a Class
                Member’s Individual Settlement Allocation:

                (1)    Add all cars sold for each Class Member while employed as a Sales
                       Representative together to obtain the “Total Denominator;”

                (2)    Divide the Total Denominator by the Net Settlement Fund to
                       determine the Class Member’s “Individual Settlement Allocation.”

          (D)   The Claims Administrator shall mail to all Class Claimants who submit a
                timely Claim Form and Release their Individual Settlement Allocation
                within 10 days of the Effective Date. The Claims Administrator shall use
                reasonable efforts to make an additional mailing to Class Claimants whose
                checks are returned because of incorrect addresses. Such efforts shall
                include using social security numbers to obtain better address information.

          (E)   Defendants shall not oppose the formula set forth in Section 3.4(D) above,
                except to the extent the formula is in any way inconsistent with the terms of
                this Agreement.

          (F)   The Claims Administrator shall calculate the amount to be paid to each
                Class Member based on this formula, and its determinations regarding the
                amount to be paid to each Class Member shall be final, binding, and not
                subject to challenge by the Parties, Class Counsel or Defendants’ Counsel,
                except as expressly provided below. Nothing herein limits Class Members’
                rights to object to the settlement pursuant to Section 2.5 or to opt-out of the
                settlement pursuant to Section 2.4.

          (G)   The Claims Administrator shall also calculate, withhold, and make payment
                for the employee’s share of the amount of taxes to be withheld from the
                Wage Payment portion of each Class Member’s settlement payment (as
                defined below).

          (H)   All payments to Class Claimants made pursuant to this Agreement shall be


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                       deemed to be paid to such Class Claimants solely in the year in which such
                       payments actually are received by the Class Claimants.

                (I)    In the event the Claims Administrator believes this Agreement is vague in
                       any way concerning notice or allocation of payment, the Claims
                       Administrator shall seek clarification from counsel for both parties, who
                       shall confer and jointly direct the Claims Administrator.

    3.5         Taxability of Settlement Payments.

          (A)          Plaintiffs, on behalf of the Class Members, acknowledge and agree that they
                       have not relied upon any advice whatsoever from Defendants or
                       Defendants’ Counsel as to any provision of this Agreement, as to the
                       taxability, whether pursuant to federal, state or local income tax statutes or
                       regulations or otherwise of the payments made, actions taken, or
                       consideration transferred hereunder and that each Class Member shall be
                       solely responsible for the reporting and payment of any federal, state and/or
                       local income or employment taxes (including penalties and interest) on the
                       payments described above.

          (B)          It is agreed and understood that 50% of the settlement payment issued to
                       each Class Member shall cover that Class Member’s claim for wages
                       (“Wage Payment”), and shall be subject to tax withholding and/or reporting
                       as required by federal, state and local law. The Claims Administrator shall
                       report the Wage Payment portion of the settlement payment to the Internal
                       Revenue Service (and other relevant government agencies) as wage income
                       in the year of payment on a Form W-2 or similar form issued in accordance
                       with the Class Member’s W-4 currently on file.

          (C)          It is agreed and understood that 50% of the settlement payment issued to
                       each Class Member shall cover that Class Member’s claim for liquidated
                       damages, interest, and other non-wage related claims (“Non-Wage
                       Payment”), and shall be made without tax withholdings. Each Class
                       Member shall receive a Form 1099 in conjunction with their Non-Wage
                       Payment. Any service payments made pursuant to Section 3.3 shall be
                       deemed a Non-Wage Payment, and Plaintiffs shall be solely responsible for
                       all taxes, interest and penalties due with respect to their own Non-Wage
                       Payments.

          (D)          Plaintiffs agree to and hereby do indemnify and hold harmless Defendants
                       from and against any and all tax liabilities, interest and penalties that may
                       be assessed or incurred as a result of not withholding money or issuing or
                       reporting payments made under this Paragraph 3.5(C) including, but not
                       limited to, liability for payroll taxes or deductions, income withholding
                       taxes, including federal, state or local income taxes, social security taxes,
                       federal state or local unemployment or disability premium payments or
                       taxes, or any other taxes which customarily are withheld from or paid with


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                 respect to wages, or any other liens, judgments, interest and/or penalties
                 incurred on the monies paid pursuant to this Agreement or owing to, or for
                 the satisfaction of, any liens or judgments against Plaintiffs (which
                 Plaintiffs affirmatively represent do not exist), except that Plaintiffs shall
                 not be liable for any contributions of FICA assessed against Defendants.

    3.6   NYLL Release.

          (A)    Release of Class Member Claims.

                 (1)      By operation of the entry of the Final Judgment and Order, each
                          Class Member who does not timely opt-out shall be deemed to have
                          released Defendants from all wage and hour claims arising from
                          their employment at Major Automotive under the New York Labor
                          Law that were, or could have been, brought in the Litigation and
                          interest, liquidated damages, attorneys’ fees, and costs with respect
                          to such claims.

           (B)   Release of Fees and Costs for Settled Matters. Class Counsel and
                 Plaintiffs, on behalf of the Class and each individual Class Member, hereby
                 irrevocably and unconditionally release, acquit, and forever discharge any
                 claim that they may have against Defendants for attorneys’ fees or costs
                 associated with Class Counsels’ representation of Plaintiffs and the Class.
                 Class Counsel further understand and agree that any fee payments approved
                 by the Court will be the full, final and complete payment of all attorneys’
                 fees and costs associated with Class Counsel’s representation of these
                 individuals arising from their employment at Major Automotive.
                 However, a Plaintiff who opts out of the settlement agreement does not
                 release any claims against Defendants.

          (C)    No Assignment. Class Counsel and Plaintiffs, on behalf of the Class and
                 each individual Class Member, represent and warrant that they have not
                 assigned or transferred, or purported to assign or transfer, to any person or
                 entity, any claim or any portion thereof or interest therein, including, but not
                 limited to, any interest in the Litigation, or any related action.

          (D)    Non-Admission of Liability. By entering into this Agreement, Defendants
                 in no way admit any violation of law or any liability whatsoever to Plaintiffs
                 and/or the Class, individually or collectively, all such liability being
                 expressly denied. Likewise, by entering into this Agreement, Defendants
                 in no way admit to the suitability of this case for class or collective action
                 litigation other than for purposes of settlement. Rather, Defendants enter
                 into this Agreement to avoid further protracted litigation and to resolve and
                 settle all disputes with Plaintiffs and the Class. Settlement of the
                 Litigation, negotiation and execution of this Agreement, and all acts
                 performed or documents executed pursuant to or in furtherance of this
                 Agreement or the settlement: (a) are not, shall not be deemed to be, and may


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                 not be used as an admission or evidence of any wrongdoing or liability on
                 the part of Defendants or of the truth of any of the factual allegations in any
                 and all Complaints filed in the Litigation; (b) are not, shall not be deemed to
                 be, and may not be used as an admission or evidence of fault or omission on
                 the part of Defendants in any civil, criminal, administrative or arbitral
                 proceeding; and (c) are not, shall not be deemed to be, and may not be used
                 as an admission or evidence of the appropriateness of these or similar
                 claims for class certification or administration or collective action treatment
                 other than for purposes of administering this Agreement. The Parties
                 understand and agree that this Agreement is a settlement document and
                 shall be inadmissible in evidence in any proceeding, except an action or
                 proceeding to approve, interpret, or enforce the terms of the Agreement.


    5.     Miscellaneous.

          (A)    Cooperation Between the Parties; Further Acts. Each of the Parties, upon
                 the request of any other party, at its own cost and expense, agrees to
                 perform such further acts and to execute and deliver such other documents
                 as are reasonably necessary to carry out the provisions of this Agreement.

          (B)    Entire Agreement. This Agreement constitutes the entire agreement
                 between the Parties with regard to the subject matter contained herein, and
                 all prior and contemporaneous negotiations and understandings between the
                 Parties shall be deemed merged into this Agreement. This Agreement may
                 not be modified in any way without the written consent of the parties hereto.

          (C)    Binding Effect. This Agreement shall be binding upon the Parties and,
                 with respect to Plaintiffs and the Class Members, their spouses, children,
                 representatives,    heirs,   administrators, executors,     beneficiaries,
                 conservators, attorneys and assigns.

          (D)    Arms’ Length Transaction; Materiality of Terms. The Parties have
                 negotiated all the terms and conditions of this Agreement at arm’s length.
                 All terms and conditions of this Agreement in the exact form set forth in this
                 Agreement are material to this Agreement and have been relied upon by the
                 Parties in entering into this Agreement.

          (E)    Captions. The captions or headings of the sections and paragraphs of this
                 Agreement have been inserted for convenience of reference only and shall
                 have no effect upon the construction or interpretation of any part of this
                 Agreement.

          (F)    Construction. The determination of the terms and conditions of this
                 Agreement has been by mutual agreement of the Parties. Each party
                 participated jointly in the drafting of this Agreement, and therefore the
                 terms and conditions of this Agreement are not intended to be, and shall not



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                be, construed against any party by virtue of draftsmanship.

          (G)   Blue Penciling. Following the Effective Date, if any provision of this
                Agreement is held by a court of competent jurisdiction to be void, voidable,
                unlawful or unenforceable, the remaining portions of this Agreement will
                remain in full force and effect.

          (H)   Governing Law. This Agreement shall in all respects be interpreted,
                enforced and governed by and under the laws of the State of New York,
                without regard to choice of law principles, except to the extent that the law
                of the United States governs any matter set forth herein, in which case such
                federal law shall govern.

          (I)   Continuing Jurisdiction. The Court shall retain jurisdiction over the
                interpretation and implementation of this Agreement as well as any and all
                matters arising out of, or related to, the interpretation or implementation of
                this Agreement and of the settlement contemplated thereby. The Court
                shall not have jurisdiction to modify the terms of the Agreement or to
                increase Defendants’ payment obligations hereunder.

          (J)   Waivers, etc. to Be in Writing. No waiver, modification or amendment of
                the terms of this Agreement, whether purportedly made before or after the
                Court’s approval of this Agreement, shall be valid or binding unless in
                writing, signed by or on behalf of the parties and then only to the extent set
                forth in such written waiver, modification or amendment, subject to any
                required Court approval. Any failure by any party to insist upon the strict
                performance by the other party of any of the provisions of this Agreement
                shall not be deemed a waiver of future performance of the same provisions
                or of any of the other provisions of this Agreement, and such party,
                notwithstanding such failure, shall have the right thereafter to insist upon
                the specific performance of any and all of the provisions of this Agreement.

          (K)   When Agreement Becomes Effective; Counterparts. This Agreement shall
                become effective upon its execution. Any of the Parties may execute this
                Agreement in counterparts, and execution in counterparts shall have the
                same force and effect as if Plaintiffs and Defendants had signed the same
                instrument.

          (L)   Facsimile/Electronic Signatures. Any party may execute this Agreement
                by causing its counsel to sign on the designated signature block below and
                transmitting that signature page via facsimile or email to counsel for the
                other party. Any signature made and transmitted by facsimile or email for
                the purpose of executing this Agreement shall be deemed an original
                signature for purposes of this Agreement and shall be binding upon the
                party whose counsel transmits the signature page by facsimile or email.




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    DATED: June __, 2015                    THE MAJOR AUTOMOTIVE COMPANIES,
                                            INC.


                                            By:

                                            Its:


    DATED: June __, 2015                    MAJOR UNIVERSE, INC.

                                            By:

                                            Its:


    DATED: June __, 2015                    MAJOR WORLD FORD LINCOLN
                                            MERCURY

                                            By:

                                            Its:
    DATED: June __, 2015                    MAJOR CHEVROLET GEO

                                            By:

                                            Its:
    DATED: June __, 2015                    MAJOR CHEVROLET INC.

                                            By:

                                            Its:
    DATED: June __, 2015                    MAJOR CHRYSLER JEEP DODGE, INC.

                                            By:

                                            Its:

    DATED: June __, 2015                    MAJOR MOTORS OF LONG ISLAND CITY,
                                            INC. D/B/A MAJOR KIA

                                            By:

                                            Its:




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                              EXHIBIT A




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    UNITED STATES DISTRICT COURT
    EASTERN DISTRICT OF NEW YORK



    SLOBODAN KARIC, CLARIBEL GARCIA, STEVEN
    JONES, GORAN STANIC, LJUBOMIR ZIVANOVIC,
    DANIEL COLON, and WILLIAM CHATMAN, on
    behalf of themselves and all others similarly situated,

                                            Plaintiffs,

           -against-
                                                                       No. 09 Civ. 5708 (ENV)(CLP)
    THE MAJOR AUTOMOTIVE COMPANIES, INC.,
    MAJOR UNIVERSE, INC., MAJOR UNIVERSE, INC. NOTICE OF PROPOSED CLASS
    d/b/a MAJOR WORLD FORD LINCOLN MERCURY,      ACTION SETTLEMENT
    MAJOR CHEVROLET GEO, MAJOR CHEVROLET,
    INC., MAJOR CHRYSLER JEEP DODGE, INC.,
    MAJOR MOTORS OF LONG ISLAND CITY, INC.
    d/b/a MAJOR KIA, MAJOR MOTORS OF THE FIVE
    TOWNS, INC., MAJOR AUTOMOTIVE REALTY
    CORP., HAROLD BENDELL, BRUCE BENDELL, and
    CHRIS ORSARIS, individually,

                                          Defendants.
                                                                  .

    TO:    [INSERT NAME]

    DATED: [INSERT DATE]


                        PLEASE READ THIS NOTICE CAREFULLY


            This Notice relates to a proposed settlement of class action litigation. Individuals
    who formerly worked for the Major Automotive companies (“Major”) filed this lawsuit
    alleging unpaid minimum wages, unpaid overtime compensation, commission damages,
    unlawful deductions, and unpaid spread-of-hours among other damages against
    Defendants. Based on the settlement agreed to by the parties, and preliminarily approved
    by the Court, you are entitled to a settlement award, less applicable federal and state
    payroll tax withholdings. You should read this Notice carefully and in its entirety as it
    contains important information as to your right to participate in the settlement, and to make



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    a claim for payment or elect not to be included in the class.

                                           Introduction

            The Court in charge of this case is the United States District Court for the Eastern
    District of New York, United States District Judge Eric Nicholas Vitaliano. The lawsuit is
    known as Karic v. The Major Automotive Companies, Inc. et. al. No. 09 Civ. 5708
    (ENV)(CLP) (E.D.N.Y). The individuals who filed the lawsuit are called the Plaintiffs.
    The group of workers they represent in the case, including you, are “Class Members.”

            Plaintiffs allege in the lawsuit that, among other things, Defendants failed to pay
    them and the Class Members wages, including minimum wage, overtime for the hours they
    worked over 40 in a week, improperly calculated commissions from the sale of vehicles,
    made unlawful deductions from employee wages and failed to pay spread-of-hours in
    violation of the Fair Labor Standards Act (“FLSA”) and the New York Labor Law
    (”NYLL”).

           Defendants deny Plaintiffs’ allegations and contend that Class Members at all times
    were paid properly, and that Defendants at all times complied with the law.

           Plaintiffs and Defendants have agreed to settle the lawsuit subject to the approval of
    the Court. Defendants have agreed to a settlement fund up to the amount of $5,500,000.00,
    including attorneys’ fees and costs. The amount of the fund actually paid out by
    Defendants shall be determined by the number of class members who claim settlement
    funds. Amounts not claimed will be retained by Defendants. The Court has not decided
    who is right and who is wrong in this lawsuit. Your legal rights may be affected, and you
    have a choice to make now. These rights and options are summarized below and fully
    explained in this Notice.

                 YOUR LEGAL RIGHTS AND OPTIONS IN THIS SETTLEMENT:

    PARTICIPATE                     As described more fully below, to participate in the settlement, you
                                    must mail a properly completed Claim Form and Release to the
                                    Claims Administrator post-marked by [60 days from the date of
                                    mailing]. If you fail to mail a timely Claim Form and Release
                                    post-marked by [60 days from the date of mailing], you will not
                                    receive any money from the settlement and you will release your
                                    claims and not be able to sue Major for these claims in the future.


    EXCLUDE YOURSELF                If you wish to exclude yourself from the lawsuit, you must follow
                                    the directions outlined in response to Section 6 below.

    OBJECT                          You may also object to the settlement by writing the Court about
                                    why you believe the settlement is unfair or unreasonable. If the
                                    Court rejects your objection, you will still be bound by the terms of



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                                    the settlement for claims under New York Law unless you submit a
                                    valid and timely Request for Exclusion. You will not be bound by
                                    the settlement if you exclude yourself from the lawsuit. To object,
                                    you must follow the directions outlined in Section 12 below.


    1. Why did I receive this notice?

    You received this notice because you worked for Major during the relevant time period and
    previously opted-into this lawsuit.

    2. What is a class action?

    A class action is a lawsuit where one or more persons sue not only for themselves, but also
    for other people who have similar claims. These other people are known as Class
    Members. In a class action, one court resolves the issues for all Class Members, except for
    those who exclude themselves from the Class. The Honorable Eric Nicholas Vitaliano,
    United States District Judge for the Eastern District of New York, is presiding over this
    class action.

    3. Why is there a settlement?

    Class Counsel, identified in Section 10 below, analyzed and evaluated the merits of the
    claims made against Defendants in the Litigation, reviewed documents and statements in
    connection with the performance of workers, engaged in motion practice, analyzed
    damages data for Plaintiffs and a significant sample of the putative Class Members and
    evaluated Defendants’ ability to pay a judgment. Based upon their analysis and evaluation
    of this data, relevant law, and the substantial risks of continued litigation, including the
    possibility that the litigation, if not settled now, might not result in any recovery
    whatsoever, or might result in a recovery that is less favorable and that would not occur for
    several years, Class Counsel entered into this proposed settlement. Class Counsel is
    satisfied that the terms and conditions of this Agreement are fair, reasonable and adequate
    and that this Agreement is in the best interest of the Named Plaintiffs and Putative Class
    Members.

    4. How are settlement amounts calculated?

    Class Members who submit properly completed claim forms as described in Section 5
    below, will receive their share of the Net Settlement Fund, as defined in the Settlement
    Agreement, according to the allocation formula set forth in the Settlement Agreement and
    summarized below.

    A Class Member’s portion of the settlement award (“Individual Settlement Allocation”)
    shall be determined by the Claims Administrator based upon the following formula, after
    deducting attorneys’ fees and expenses, claims administrator’s fee, service awards and
    payroll taxes:



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       (1) Add together the total the number of cars sold for each Class Member while
           employed as a Sales Representative during the relevant time period to obtain the
           “Total Denominator;”

       (2) Divide the Total Denominator by the Net Settlement Fund to determine the Class
           Member’s “Individual Settlement Allocation.”

    The amount of cars sold by each Class Member will be supplied by Major and verified by
    an independent auditor.

    If you submit a properly completed claim form as described in Section 5 below, and if the
    Court approves the settlement, a settlement check will be issued by the Claims
    Administrator and will be mailed to you.

    50% of your Individual Settlement Allocation award is subject to applicable taxes and
    withholdings, like any other paycheck and will be reported on a W-2 form. 50% of your
    Individual Settlement Allocation will not be taxed up front and will be reported on a 1099
    form as alleged liquidated damages and interest. Neither Class Counsel nor Major makes
    any representations concerning tax consequences of this settlement or participation in it,
    and you are advised to seek your own personal tax advice prior to acting in response to this
    Notice.

    Any amounts not claimed by members of the class will be retained by Defendants.

    5. How Do I Make a Claim?

    To be eligible for a distribution from the settlement fund, you must timely complete and
    return the enclosed Claim Form and Release according to instructions provided on the
    form. The Claim Form and Release must be personally filled out by the current or former
    worker who seeks to participate in the Settlement or someone authorized under the law to
    act on her behalf.

    The Claim Form and Release must be properly completed, signed, and mailed to the
    Claims Administrator via First Class United States Mail, and post-marked by [60 days
    from date of mailing]. If you do not properly complete and timely submit the Claim Form
    and Release, you will not be eligible to receive any monetary distribution and your claims
    will be released.

    If the Court grants final approval of the Settlement, this action will be dismissed with
    prejudice and Class Members who do not opt out will fully release and discharge
    Defendants through November 24, 2014, from all New York Labor Law claims arising
    from their employment at Major asserted in the Complaint. This means that you cannot
    sue, continue to sue, or be a party in any other lawsuit against Defendants regarding the
    New York Labor Law arising from your employment at Major brought in this case. It also
    means that all of the Court’s orders will apply to you and legally bind you.

    6. How Do I Exclude Myself From the Settlement?


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    If you do not want a payment from this settlement, but you want to keep the right to sue or
    continue to sue Defendants, on your own, about the legal issues in this case or which could
    have been brought in this case, then you must take steps to exclude yourself from this case.
    If you intend to exclude yourself, you must mail a written, signed statement to the Claims
    Administrator stating “I elect to exclude myself from the settlement in the Major World
    Litigation” and include your name, your address, and telephone number (“Opt-out
    Statement”). To be effective, the Opt-out Statement must be mailed to the Claims
    Administrator via First Class United States Mail, postage prepaid, and postmarked by [60
    days from the date of mailing].

                                Major World Claims Administrator
                                       c/o Angeion Group
                                      1801 Market St. # 660
                                     Philadelphia, PA 19103
                                       (p) (215) 563-4116

    If you exclude yourself from the Lawsuit and Settlement, you will NOT be allowed to
    object to the settlement as described in Section 12 below.

    7. What am I giving up by staying in the case?

    Unless you exclude yourself, you will remain a Class Member. That means you cannot sue,
    continue to sue or be a party to any other lawsuit against Defendants for any New York
    State wage and hour claims that were or could have been brought in this lawsuit through
    the effective date of the settlement.

    8. If I exclude myself, can I get money from this settlement?

    No. If you exclude yourself, you will not receive any money from this settlement.

    9. What happens if I do nothing?

    If you do nothing, you will not receive any money from this settlement, and you will be
    subject to all decisions and rulings from the Court. If the Court approves the settlement, all
    of your New York Labor Law claims will be relinquished.

    10. Do I have a lawyer in this case?

    You are represented by Joseph A. Fitapelli, Fitapelli & Schaffer, LLP, 475 Park Avenue
    South, 12th Floor, New York, New York 10016, (212) 300-0375, info@fslawfirm.com,
    www.fslawfirm.com. The attorney’s are called “Class Counsel.” If you have any questions
    about the settlement or participating in it, you may contact them.
    11. How will the lawyers be paid and how much are Service Awards to Named Plaintiffs?

    You will not be charged separately for Class Counsel. Their fees are being paid from the



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    Settlement Fund. If you want to be represented by your own lawyer, you may hire one at
    your own expense. Class Counsel will ask the Court to approve attorneys’ fees of 33.3% of
    the net settlement fund ($1,833,333.33) plus litigation expenses and costs of approximately
    $39,000. The fees would pay Class Counsel for investigating the facts, litigating the
    lawsuit, and negotiating and overseeing the settlement.

    Named Plaintiffs will apply to the Court for a service award of $20,000 each as recognition
    for the valuable services they provided to the Class.

    The Court will ultimately decide the amount that will be paid to Class Counsel and service
    awards to named Plaintiffs for their services.

    12. How do I tell the Court that I do not like the settlement?

    You can object to the settlement if you do not like any part of it. You can give reasons why
    you think the Court should not approve it. The Court will consider your views. If the Court
    rejects your objection, you will still be bound by the terms of the settlement of your claims
    under New York Law unless you have submitted a valid and timely request for exclusion.
    To object, you must send a letter stating “I object to the settlement in the Major World
    Litigation.” Your statement must include all reasons for the objection and any supporting
    documentation. If you wish to present your objection at the fairness hearing described
    below, you must state your intention to do so in your written objection. You will not be
    allowed to present reasons for your objection at the fairness hearing that you did not
    describe in your written objection. Mail the objection to the Claims Administrator via
    First-Class United States Mail, postage prepaid at the address below. Your objection will
    not be heard unless it is mailed to the Claim Administrator via First Class United State Mail
    and postmarked by [60 days from the date of mailing].

                                Major World Claims Administrator
                                       c/o Angeion Group
                                      1801 Market St. # 660
                                     Philadelphia, PA 19103
                                       (p) (215) 563-4116

    The Claims Administrator will file your objection statement with the Court. You may not
    object to the settlement if you submit a letter requesting to exclude yourself or “opt-out” of
    the settlement of the lawsuit.

    13. What is the difference between objecting and excluding?

    Objecting is simply telling the Court that you do not like something about the settlement.
    You can object only if you stay in the Class. Excluding yourself is telling the Court that you
    do not want to be part of the Class. If you exclude yourself, you have no basis to object
    because the case no longer affects you.

    14. When and where will the Court decide whether to approve the settlement?



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    The Court will hold a Fairness Hearing at [insert time] on [insert date], at the United
    States District Court for the Eastern District of New York, 225 Cadman Plaza East,
    Brooklyn, New York, in Courtroom [insert courtroom]. At this hearing the Court will
    consider whether the terms of the settlement are fair, reasonable, and adequate. If there are
    objections, the Court will consider them. The Judge will listen to people who have asked to
    speak at the hearing. The Court may also decide how much to pay to Class Counsel. After
    the hearing, the Court will decide whether to approve the settlement. We do not know how
    long these decisions will take.

    15. Are there more details about the settlement?

    This notice summarizes the proposed settlement. More details are in the Settlement
    Agreement. You can review the Settlement Agreement by asking for a copy of the
    Settlement Agreement by writing to or calling:

                                Major World Claims Administrator
                                       c/o Angeion Group
                                      1801 Market St. # 660
                                     Philadelphia, PA 19103
                                       (p) (215) 563-4116




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    UNITED STATES DISTRICT COURT
    EASTERN DISTRICT OF NEW YORK



    SLOBODAN KARIC, CLARIBEL GARCIA, STEVEN
    JONES, GORAN STANIC, LJUBOMIR ZIVANOVIC,
    DANIEL COLON, and WILLIAM CHATMAN, on
    behalf of themselves and all others similarly situated,

                                            Plaintiffs,

           -against-
                                                                       No. 09 Civ. 5708 (ENV)(CLP)
    THE MAJOR AUTOMOTIVE COMPANIES, INC.,
    MAJOR UNIVERSE, INC., MAJOR UNIVERSE, INC.
    d/b/a MAJOR WORLD FORD LINCOLN MERCURY,
    MAJOR CHEVROLET GEO, MAJOR CHEVROLET,
    INC., MAJOR CHRYSLER JEEP DODGE, INC.,
    MAJOR MOTORS OF LONG ISLAND CITY, INC.
    d/b/a MAJOR KIA, MAJOR MOTORS OF THE FIVE
    TOWNS, INC., MAJOR AUTOMOTIVE REALTY
    CORP., HAROLD BENDELL, BRUCE BENDELL, and
    CHRIS ORSARIS, individually,

                                          Defendants.
                                                                  .

                       CLAIM FORM AND RELEASE INSTRUCTIONS


    If you choose to join this lawsuit, in order to receive your portion of the settlement funds,
    which is approximately___________, and described in the Notice of Proposed Settlement
    (“Notice”) you must complete and return this Claim Form and Release to the Claims
    Administrator postmarked by [60 DAYS FROM DATE OF MAILING].

                                Major World Claims Administrator
                                     [Insert Claims Admin]

    CHANGE OF ADDRESS

    It is your responsibility to keep a current address on filed with the Claims Administrator.
    Please make sure to notify the Claims Administrator of any change of address.




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                                    CLAIM FORM AND RELEASE

     THE FORM MUST BE MAILED TO THE CLAIMS ADMINISTRATOR POSTMARKED BY [60 DAYS FROM
                                     DATE OF MAILING]

    I understand that this lawsuit was brought under the Fair Labor Standards Act of 1938, as amended,
    29 U.S.C. § 201, et seq. (“FLSA”) and the New York Labor Law (“NYLL”). I hereby consent and
    agree to join the case of Slobodan Karic, Claribel Garcia, Steven Jones, Goran Stanic, Ljubomir
    Zivanovic, Daniel Colon, and William Chatman, on behalf of themselves and all others similarly
    situated v. The Major Automotive Companies, Inc., Major Universe, Inc., Major Universe, Inc.
    D/B/A Major World Ford Lincoln Mercury, Major Chevrolet Geo, Major Chevrolet, Inc., Major
    Chrysler Jeep Dodge, Inc., Major Motors of Long Island City, Inc. d/b/a Major Kia, Major Motors
    of The Five Towns, Inc., Major Automotive Realty Corp., Harold Bendell, Bruce Bendell, and
    Chris Orsaris, Case No. 09 Civ. 5708 (ENV)(CLP). I consent and agree to be bound by any
    adjudication of this action by the Court. I hereby designate the law firm of Fitapelli & Schaffer,
    LLP to represent me in this action.

    My signature below constitutes a full and complete release and discharge of The Major Automotive
    Companies, Inc., Major Universe, Inc., Major Universe, Inc. D/B/A Major World Ford Lincoln
    Mercury, Major Chevrolet Geo, Major Chevrolet, Inc., Major Chrysler Jeep Dodge, Inc., Major
    Motors of Long Island City, Inc. d/b/a Major Kia, Major Motors of The Five Towns, Inc., Major
    Automotive Realty Corp., Harold Bendell, Bruce Bendell, and Chris Orsaris, individually, their
    present and former owners, stockholders, predecessors, successors, assigns, agents, directors,
    officers, employees, representatives, insurers, attorneys, parents, subsidiaries, affiliates, benefit
    plans, plan fiduciaries, and all persons acting by, through, under or in concert with any of them
    (“Defendants”) by me and by my respective heirs, beneficiaries, devisees, legatees, executors,
    administrators, trustees, conservators, guardians, personal representatives, successors-in-interest,
    and assigns, from any and all wage and hour claims, demands, rights, liabilities, expenses, and
    losses of any kind, that I have, had, or might have had against Defendants based on any act or
    omission that occurred at any time up to and including November 24, 2014 related to any of the
    facts or claims alleged in this Litigation arising from my employment at Major Automotive, even if
    presently unknown and/or un-asserted, including but not limited to: the wage and hour laws and
    regulations of the state of New York, including the New York Labor Law Articles 6 and 19, and all
    derivative benefit claims (both ERISA and non-ERISA benefits) interest on such claims, and
    attorneys’ fees, expenses and costs in exchange for a portion of the Net Settlement Fund, less
    applicable federal and state payroll tax withholdings.

    I declare under penalty of perjury that the above information is correct.



    Name (print)                          Signature                               Date




    Mailing Address                                                Last Four Digits of Social Security




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                              EXHIBIT B




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             Akindayo Oladapo
             Albert Middleton
             Alix Pierre Pierre
              Andrea D. Rossi
             Bernardo Collado
              Bruno Campolo
               Carlos Nieves
              Cesar Andrade
               Chris Katechis
          Claribel Martinez Garcia
                 Coco Latre
               Cristian Garcia
               Daniel Colon
              Daniel Marion
                Danny Diaz
             David J. Friedrich
             Dennis Feliciano
            Dimitrios Pissanos
              Dominick Rose
              Edward Esposti
               Edward Sosa
             Efstratios Iakovou
            Emmanuel Fuentes
               Ernest Smith
              Fabio Anselmo
              Felipe J. Garcia
                 Felix Pena
            Francisco Quinones
                Frank Rivas
                 Goran Stanic
      Hristos (Chris) Papagiannopoulos
                  Ian Abelson
               Irving Barreiro
                 Jack Dowers
                Jacob Charest
                Jaime C. Rios
                 James Herbin
                Javier Vergara
                  Jose Berrios


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               Jose Rivera
            Joseph E. Camilo
              Joseph Melo
            Juan Campoverde
             Julio J. Salcedo
             Julius Cabutaje
            Kevin G. Herbert
             Kevin L. Milan
            Kevin McDermon
           Ljubomir Zivanovic
              Lorna Owens
                Luis Felix
             Marcos J. Rojas
            Maria Kalonarou
             Mark Kayantas
            Mathew Newman
              Melvin Reyes
           Michael Alade-Smith
            Michael Belisario
             Michael Rawson
            Michael S. Curran
            Michelle Winburn
             Modesto Nunez
                Noe Salas
              Omar Cordoba
               Omar Lopez
             Omar Rodriguez
        Panayotis (Peter) Kalonaros
            Rafael Rodriguez
             Ralph Rodriguez
            Reginald Lambert
             Rene Riquelme
            Robert Alexandre
              Robert LaRosa
            Roger Washingon
              Ronny Peralta
               Sabrina Gary
             Satesh Balgobin
             Sergio Pacheco


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             Slobodan Karic
             Smith Aragones
           St. Clare Rosenberg
               Steven Jones
            Tarek John Cook
           Thomas J. Vodicka
            Walter Rocafuerte
             Warren Morgan
           William Chatman
           William Vecchione
              Xavier Diaz




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